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     Federal Public Defender
 2   State Bar No. 11479
     JACQUELYN N. WITT
 3   Assistant Federal Public Defender
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 5   (702) 388-6577
     Jackie_Witt@fd.org
 6
     Attorney for Jason Garrett
 7
 8                               UNITED STATES DISTRICT COURT
 9                                     DISTRICT OF NEVADA
10
     UNITED STATES OF AMERICA,                              Case No. 2:15-cr-00031-KJD-NJK
11
                    Plaintiff,                              STIPULATION TO CONTINUE
12
                                                            REVOCATION HEARING
            v.
13                                                          (Second Request)
     JASON GARRETT,
14
                    Defendant.
15
16
            IT IS HEREBY STIPULATED AND AGREED, by and between Jason M. Frierson,
17
     United States Attorney, and Robert Knief, Assistant United States Attorney, counsel for the
18
     United States of America, and Rene L. Valladares, Federal Public Defender, and Jacquelyn N.
19
     Witt, Assistant Federal Public Defender, counsel for Jason Garrett, that the Revocation Hearing
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     currently scheduled on March 26, 2024, be vacated and continued to a date and time convenient
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     to the Court, but no sooner than fourteen (14) days.
22
            This Stipulation is entered into for the following reasons:
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            1.      Defense counsel needs additional time to advise Mr. Garrett as to the allegations
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     in the Petition and conduct investigation related to the same.
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            2.      Defense counsel has requested mitigating documentation and additional time is
26
     needed to review those documents upon receipt.
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 1          3.      Defense counsel needs additional time to review discovery with Mr. Garrett and
 2   fully advise him on this case.
 3          4.      Mr. Garrett is in custody and does not oppose the continuance.
 4          5.      The parties agree to the continuance.
 5          This is the second request for a continuance of the revocation hearing.
 6          DATED this 20th day of March, 2024.
 7
 8    RENE L. VALLADARES                             JASON M. FRIERSON
      Federal Public Defender                        United States Attorney
 9
10
      By /s/ Jacquelyn N. Witt                       By /s/ Robert Knief
11    JACQUELYN N. WITT                              ROBERT KNIEF
      Assistant Federal Public Defender              Assistant United States Attorney
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         Case 2:15-cr-00031-KJD-NJK Document 65 Filed 03/25/24 Page 3 of 3




 1                              UNITED STATES DISTRICT COURT

 2                                   DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                         Case No. 2:15-cr-00031-KJD-NJK
 4
                   Plaintiff,                          ORDER
 5
            v.
 6
     JASON GARRETT,
 7
                   Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the revocation hearing currently scheduled

11   for Tuesday, March 26, 2024 at 12:00 p.m., be vacated and continued to April 9, 2024 at the

12   hour of 11:30 a.m. in courtroom 4A.

13          DATED this ___
                       25 day of March, 2024.

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                                                UNITED STATES DISTRICT JUDGE
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